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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

IN RE:                                                         )        CASE NO: 16-70357-LRC
                                                               )
OTS CAPITAL PARTNERS, LLC,                                     )        CHAPTER 11
                                                               )
         Debtor.                                               )
------------------------------------------------------------------------------------------------------
                                                               )
OTS CAPITAL PARTNERS, LLC ,                                    )        ADVERSARY PROCEEDING
                                                               )        NO. 18-05293-LRC
         Plaintiff,                                            )
                                                               )
v.                                                             )
                                                               )
PEGGY EVANS                                                    )
                                                               )
                                                               )
         Defendant.                                            )
                                                               )

                                 STIPULATION OF DISMISSAL

        COME NOW OTS Capital Partners, LLC, Debtor and Debtor-in-Possession in the above-

styled adversary proceeding (the "Debtor" or "Plaintiff") and Defendant Peggy Evans

(“Defendant” or “Evans”), by and through their respective counsel, and pursuant to Fed. R. Civ.

P. 41(1)(A)(ii) made applicable to this adversary proceeding through Fed. R. Bankr. P. 7041,

stipulate to dismissal of this adversary proceeding with prejudice.

        This 16th day of August, 2019.

                              [Signatures of counsel on following page]
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ROUNTREE LEITMAN & KLEIN, LLC                 SLIPAKOFF & SLOMKA, PC

/s/ David S. Klein                            /s/ Howard P. Slomka (by David S. Klein with
David S. Klein                                express permission)
Ga. Bar No. 183389                            Howard P. Slomka
Century Plaza I                               Ga. Bar No. 652875
2987 Clairmont Road, Suite 175
Atlanta, GA 30329                             Attorneys for Defendant
(404) 856-0540
dklein@rlklawfirm.com
Attorneys for Plaintiff




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IN RE:                                                         )        CASE NO: 16-70357-LRC
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                                                               )        NO.18-05293-LRC
         Plaintiff,                                            )
                                                               )
v.                                                             )
                                                               )
PEGGY EVANS                                                    )
                                                               )
                                                               )
         Defendant.                                            )
                                                               )

                                   CERTIFICATE OF SERVICE

       This is to certify that the undersigned has this date served a true and correct copy of the
foregoing STIPULATION OF DISMISSAL by electronic mail addressed as follows.

                                          Howard P. Slomka
                                            hs@atl.law

        Dated: August 16, 2019
                                                         ROUNTREE LEITMAN & KLEIN, LLC

                                                         /s/ David S. Klein
                                                         David S. Klein
                                                         Ga. Bar No. 183389




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